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20IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

 

KTM AG,

Plaintiff,
Case No. 21-cv-1279
V.
Judge Robert M. Dow, Jr.
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A

HERETO,

Defendants.

 

 

REVISED PRELIMINARY INJUNCTION ORDER
THIS CAUSE being before the Court on KTM AG’s Motion for a Preliminary

Injunction, and this Court having considered the evidence before it hereby GRANTS Plaintiff's
Motion for Entry of a Preliminary Injunction in its entirety against the Defendants identified in
Amended Schedule A attached hereto (collectively, the “Defendants”).

THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants
since the Defendants directly target their business activities toward consumers in the United
States, including Illinois. Specifically, Defendants are reaching out to do business with Illinois
residents by operating one or more commercial, interactive Internet Stores through which Illinois
residents can purchase products bearing infringing and/or counterfeit versions of Plaintiff's KTM
and DUKE Trademarks (the “Counterfeit KTM Products”).

THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this
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litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil
Procedure 65. Evidence submitted in support of this Motion and in support of Plaintiff's
previously granted Motion for a Temporary Restraining Order establishes that Plaintiff has a
likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer
irreparable harm if the injunction is not granted.

Specifically, Plaintiff has made a prima facie showing of trademark infringement because
(1) the KTM and DUKE Trademarks are distinctive marks and registered with the U.S. Patent and
Trademark Office on the Principal Register as U.S. Trademark Registration Nos. 3,606,168;
3,547,084; 3,440,999 and 3,436,150 for the KTM Trademark and Registration No. 4,650,809 for
the DUKE Trademark, (2) Defendants are not licensed or authorized to use the KTM or DUKE
Trademark, and (3) Defendants’ use of the KTM and DUKE Trademarks are causing a likelihood
of confusion as to the origin or sponsorship of Defendants’ products with KTM AG. Furthermore,
Defendants’ continued and unauthorized use of the KTM and DUKE Trademarks irreparably
harms Plaintiff through diminished goodwill and brand confidence, damage to Plaintiff's
reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to address such
damage and, therefore, Plaintiff has an inadequate remedy at law. Moreover, the public interest
is served by entry of this Preliminary Injunction to dispel the public confusion created by
Defendants’ actions.

Accordingly, this Court ORDERS that:
1. Defendants, their officers, agents, servants, employees, attorneys and all persons acting for,

with, by, through, under or in active concert with them be preliminarily enjoined and

restrained from:
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a. using Plaintiffs KTM and DUKE Trademarks or any confusingly similar
trademarks or names in any manner in connection with the distribution,
marketing, advertising, offering for sale, or sale of any product that is not a
genuine KTM Product or is not authorized by Plaintiff to be sold in connection
with Plaintiffs KTM and DUKE Trademarks;

b. passing off, inducing, or enabling others to sell or pass off any product as a
genuine KTM Product or other product produced by Plaintiff, that is not
Plaintiff's or is not produced under the authorization, control or supervision of
Plaintiff and approved by Plaintiff for sale under Plaintiffs KTM and DUKE
Trademarks;

c. committing any acts calculated to cause consumers to believe that Defendants’
products are those sold under the authorization, control or supervision of
Plaintiff, or are sponsored by, approved by, or otherwise connected with
Plaintiff;

d. further infringing Plaintiffs KTM and DUKE Trademarks and damaging
Plaintiff's goodwill;

e. shipping, delivering, holding for sale, transferring or otherwise moving, storing,
distributing, returning, or otherwise disposing of, in any manner, products or
inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be
sold or offered for sale, and which bear Plaintiff's KTM and DUKE Trademarks
or any confusingly similar reproductions, counterfeit copies or colorable

imitations thereof;
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f. using, linking to, transferring, selling, exercising control over, or otherwise
owning the Online Marketplace Accounts, the Defendant Domain Names, or
any other domain name or online marketplace account that is being used to sell
Counterfeit KTM Products; and
g. operating and/or hosting websites at the Defendant Domain Names and any
other domain names registered or operated by Defendants that are involved
with the distribution, marketing, advertising, offering for sale, or sale of any
product bearing Plaintiffs KTM and DUKE Trademarks or any confusingly
similar reproduction, counterfeit copy or colorable imitation thereof that is not
a genuine KTM Product or is not authorized by Plaintiff to be sold in
connection with Plaintiffs KTM and DUKE Trademarks.
Each Defendant, within fourteen (14) days after receiving notice of this Order, shall serve
upon Plaintiff a written report under oath providing: (a) their true name and physical
address, (b) all websites and online marketplace accounts on any platform that it owns
and/or operate (c) their financial accounts, including all Amazon.com, Inc. (“Amazon”)
accounts, and (d) the steps taken by that Defendant to comply with paragraph 1, a through
g, above.
The domain name registries for the Defendant Domain Names, including, but not limited
to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public
Interest Registry, within three (3) business days of receipt of this Order or prior to
expiration of this Order, whichever date shall occur first, shall, at Plaintiffs choosing:
a. unlock and change the registrar of record for the Defendant Domain Names

to a registrar of Plaintiff's selection until further ordered by this Court, and
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the domain name registrars shall take any steps necessary to transfer the
Defendant Domain Names to a registrar of Plaintiff's selection until further
ordered by this Court; or

b. disable the Defendant Domain Names and make them inactive and
untransferable until further ordered by this Court.

4. Those in privity with Defendants and with actual notice of this Order, including any online
marketplaces such as iOffer, Amazon, social media platforms, Facebook, YouTube,
LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts for
the Defendant Domain Names, and domain name registrars, shall within five (5) business
days of receipt of this Order:

a. disable and cease providing services for any accounts through which
Defendants engage in the sale of counterfeit and infringing goods using the
KTM and DUKE Trademarks, including any accounts associated with the
Defendants listed in Amended Schedule A;

b. disable and cease displaying any advertisements used by or associated with
Defendants in connection with the sale of counterfeit and infringing goods
using the KTM and DUKE Trademarks; and

c. take all steps necessary to prevent links to the Defendant Domain Names
identified in Amended Schedule A from displaying in search results. This
includes, but is not limited to, removing links to the Defendant Domain
Names from any search index.

5. Defendants and any third party with actual notice of this Order who is providing services

for any of the Defendants, or in connection with any of Defendants' websites at the
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Defendant Domain Names or other websites operated by Defendants, including, without
limitation, any online marketplace platforms such as iOffer, Amazon, advertisers,
Facebook, Internet Service Providers ("ISP"), web hosts, back-end service providers, web
designers, sponsored search engine or ad-word providers, banks, merchant account
providers, including Amazon, third party processors and other payment processing service
providers, shippers, and domain name registrars (collectively, the "Third Party Providers")
shall, within five (5) business days after receipt of such notice, provide to Plaintiff
expedited discovery, including copies of all documents and records in such person's or
entity's possession or control relating to:

a. The identities and locations of Defendants, their agents, servants,
employees, confederates, attorneys, and any persons acting in concert or
participation with them, including all known contact information;

b. The nature of Defendants’ operations and all associated sales and financial
information, including, without limitation, identifying information
associated with the Online Marketplace Accounts, the Defendant Domain
Names, and Defendants' financial accounts, as well as providing a full
accounting of Defendants' sales and listing history related to their respective
Online Marketplace Accounts and Defendant Domain Names;

c. Defendants' websites and/or any Online Marketplace Accounts;

d. The Defendant Domain Names or any domain name registered by
Defendants; and

e. Any financial accounts owned or controlled by Defendants, including their

agents, servants, employees, confederates, attorneys, and any persons acting
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in concert or participation with them, including such accounts residing with
or under the control of any banks, savings and loan associations, payment
processors or other financial institutions, including, without limitation,
Amazon, or other merchant account providers, payment providers, third
party processors, and credit card associations (e.g., MasterCard and VISA).
Defendants and any persons in active concert or participation with them who have actual
notice of this Order shall be restrained and enjoined from transferring or disposing of any
money or other of Defendants’ assets until further ordered by this Court.
Amazon shall, within five (5) business days of receipt of this Order,
for any Defendant or any of Defendants' Online Marketplace Accounts or websites:

a. Locate all accounts and funds connected to Defendants, Defendants' Online
Marketplace Accounts or Defendants' websites, including, but not limited to, any
Amazon accounts connected to the information listed in Amended Schedule A hereto;
and

b. Restrain and enjoin any such accounts or funds from transferring or disposing of
any money or other of Defendants' assets until further ordered by this Court.

Plaintiff may provide notice of these proceedings to Defendants, including notice

of any future hearings and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by
electronically publishing a link to the Complaint, this Order and other relevant documents
on a website to which the Defendant Domain Names are transferred to Plaintiff's control
will redirect, or by sending an e-mail to the e-mail addresses identified in Amended
Schedule A hereto; and any e-mail addresses provided for Defendants by third parties

accompanied by a link to the website where the above-identified documents are located.
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The combination of providing notice via electronic publication or e-mail, along with any
notice that Defendants receive from domain name registrars and payment processors, shall
constitute notice reasonably calculated under all circumstances to apprise Defendants of
the pendency of the action and afford them the opportunity to present their objections.

9. Plaintiff's Amended Schedule A to the Complaint and the TRO is unsealed.

10. Any Defendants that are subject to this Order may appear and move to dissolve or modify
the Order on two days' notice to Plaintiff or on shorter notice as set by this Court.

11. Amazon.com, Inc. (“Amazon”) shall maintain a restraint of FIVE THOUSAND
DOLLARS ($5,000) of funds in the Amazon seller accounts for each of Defendants No. 1
“Cooltoys Sales”, No. 2 “Corrida”, No. 70 “DEEPSOUND”, No. 75 “Disenparts”, No. 84
“eStarpro”, No. 102 “Goodicare”, No. 103 “Googas”, No. 112 “Hale Dillion”, No. 115
“HARVEST INN” and No. 140 “JEM&JULES” until final disposition of this case, or until
further order of the Court. All other funds in the Amazon seller accounts for Defendants
No. 1 “Cooltoys Sales”, No. 2 “Corrida”, No. 70 “DEEPSOUND”, No. 75 “Disenparts”,
No. 84 “eStarpro”, No. 102 “Goodicare”, No. 103 “Googas”, No. 112 “Hale Dillion”, No.
115 “HARVEST INN” and No. 140 “JEM&JULES” shall be released upon expiration of
the Temporary Restraining Order on May 26, 2021. “Any restraints on the accounts of
Defendants No. 1 “Cooltoys Sales”, No. 2 “Corrida”, No. 70 “DEEPSOUND”, No. 75
“Disenparts”, No. 84 “eStarpro”, No. 102 “Goodicare”, No. 103 “Googas”, No. 112 “Hale Dillion”,

No. 115 “HARVEST INN” and No. 140 “JEM&JULES”, except for an asset restraint of $5,000,

shall be lifted upon expiration of the Temporary Restraining Order on May 26, 2021.”

Dated: May 20, 2021 Nis

Honorable Robert M. Dogs
U.S. District Judge
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AMENDED SCHEDULE A

 

No. | Defendant Name / Alias
abaowus

abinge

ABITGOK38X7GL

AH parts

AiCooler

aijolenlon

AJUAN
Amarzon-Automotive Parts
11 AmiAbi

12 | AMSAMOTION

13. | ANGEL QUEEN CHAIRS.
14 | ANGLEWIDE

15 Aniro Moto

16 Anna Marvin

 

 

 

 

 

 

 

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20 | Aosiyp-u
21 | AQIMY
22 ~ =| Artudatech
23 | Autones

 

24 | autoslegend

25 | AUTOVIC

26 | bajuys

27 | BaLa AUTO79
28 Baoblaze

29 | BCtimingparts
30 =| besttopstar

31 betterman

32 | BIASTNR

33 Bid4ze-motor
34 =| BiuZi

35 | BL-ROSES™
36 _| BlueStars Diesel
37 Bracon

38 Brotech

39 BSCstore

40 | Burappoi dy

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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41 Calpalmy

42 | CAOWEIUS

43 | Car Motor Led Parts
44 | Carbour

45 | CCIYU

46 | Cell Phones Parts
47 | Chanmeen

48 | CHENDGE2

49 | chengchengh

50 _| CherryElectronics
51 | CHSXLL

52 | chuanyanbaihuoshangdian
53 _| chunxiangbaihuo

54 | cjr-segsegf8

55 | CNBK

56 | CoCostore

57 | conlense

58 | Conniecony

59 | Coolboyer

60 | cqshongyushangmao
61 | CS266

62 | CSI Auto Parts

63 | CTCAUTO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

64 | Cusco

65 | Cynemo
66 | CZWShop
67 | Dannisly

 

68 | Dealauto

69 | deepocean

71 | Delivery time 7-15

72 | DENGZHOUSHIQIANYIBAISHUNFUZHUANGXIAOSHOUBU
73 | DIKAER Direct

74 | DirtBikeClub

76 | DON-BRO

77 | DRQ ONLINE

 

 

 

 

 

 

 

 

 

 

 

 

78 Dru-us

79 | Drwcotu

80 Dubi Auto store
81 Earlyred

82 | EASTAR

 

83 ‘| Eastbuy

 

 

 

 

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85 | EVANST

86 | EWEIN

87 | Fang.kaw320

88 | FangFang-Home
89 | fanglanbaihuodian
90 ‘| Felix Box

 

 

 

 

 

 

 

 

 

91 FINCOS

92 | FINDAUTO
93. | FLFLFF

94 Freesol

 

95 | Frezon-US

96 | fuyangshiliguolindouzhipinyouxiangongsi
97 | Ganyang 216

98 | Gardenparts

99 | gdusseller

100 | GGHUK-IT

101 | Gobanana

104 | Goolily

105 | Gorgeriie

106 | Green-L LED Lighting

107 | Grumpy sister

108 | Guangzhou Aichezu Technology Co., Ltd.
109 | guangzhoushibaiyunqutianxueyiyuanguanliyouxiangong
110 | GUOLI

111 | Haigongheng Industrial

113 | hangeparts

114 | Haotang Auto Parts

116 | He Nan Jin You

117. | HED-US

118 | HETYEl

119 | Henan Duochuan Trading Company

120 | HengShengXin

121 | HENGXIANGPARTS

122 | heqinghone

123 | HerisDirect

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

124 | HICOC

125 | HighendDealUS
126 | HIYOYO

127 | HKOO

 

128 | Hlyjoonly
129 | HONGSONGPINGFE

 

 

 

 

 

11
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130 | Hot Light Team

131 | HTQZW

132. | HUA KUN MAO YI

133 | HuihuangAMZus

134 | huihuishangqu

135 | IM Billionaire

136 | IM VERA

137 | Ineedup

138 | JahyShow

139 | Jannhuand215

141 | JIANFEI US

142 | JiaoZhouShiJinKunZhuoR1Y ongBaiHuoDian
143 | JiNanBiShengGuangGaoYouXianGongSi
144 | JINGJIABAIHUO

145 | jingyangshangmao

146 | JOAUTOPARTS

147 | Jonathan Shop

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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N Defendants Online Marketplace

 

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arketplaceID=ATVPDKIK X0DER &orderID=&protocol=current&seller=A2QQRGSFUC
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